 Case: 1:20-cv-00172-JAR Doc. #: 77 Filed: 05/05/22 Page: 1 of 1 PageID #: 2011




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI
                              SOUTHEASTERN DIVISION

JANE DOE 7,                        )
                                   )
           Plaintiff,              )
                                   )
      v.                           )                      No. 1:20-CV-00172 JAR
                                   )
BOARD OF REGENTS, SOUTHEAST )
MISSOURI STATE UNIVERSITY, et al.,
                                   )
           Defendants.             )

                                         JUDGMENT

       In accordance with the Memorandum and Order entered this day and incorporated herein

granting summary judgment in favor of Defendants Board of Regents, Southeast Missouri State

University and Jyothi Dirnberger and against Plaintiff Jane Doe 7,

       IT IS HEREBY ORDERED, ADJUDGED and DECREED that all claims asserted by

Plaintiff Jane Doe 7 against Defendants Board of Regents, Southeast Missouri State University

and Jyothi Dirnberger are DISMISSED WITH PREJUDICE.



Dated this 5th day of May, 2022.


                                                JOHN A. ROSS
                                                UNITED STATES DISTRICT JUDGE
